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   IT IS ORDERED as set forth below:



   Date: June 3, 2013
                                                   _________________________________

                                                            Margaret H. Murphy
                                                       U.S. Bankruptcy Court Judge

  _______________________________________________________________

                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


IN RE:                                   )     CHAPTER 7
                                         )
RYAN MICHAEL GRAHAM,                    )       CASE NO. 13-53104 - MHM
MICHELLE LAPID GRAHAM,                    )
                    Debtors.             )
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                         )
RYAN MICHAEL GRAHAM,                      )
MICHELLE LAPID GRAHAM,                    )
                    Movants,             )
v.                                       )     CONTESTED MATTER
                                         )
PNC BANK, INC.,                          )
                                         )
                    Respondent.          )

               ORDER GRANTING MOTION TO STRIP LIEN

      On February 20, 2013, Debtors filed a motion seeking a determination of the
secured status of the claim of PNC Bank, Inc. (“Respondent”) (Doc. No. 10) (“Motion”).


Debtors assert that Respondent holds a claim secured by a deed to secure debt on their real
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property known generally as 1725 Dyson Drive, Fulton County, Atlanta, Georgia (the
“Property”); that Respondent’s deed to secure debt is subordinate to a prior deed to
secure debt; and that the value of the Property is less than the amount of debt secured by

the prior deed to secure debt. Debtors assert that the Motion and notice of hearing were
properly served on Respondent, who filed no response and did not oppose the Motion at
the hearing.
       The Motion seeks to void the junior security interest held by the Respondent
pursuant to 11 U.S.C. §§506(a) and (d). In re McNeal, 2012 WL 1649853 (11th Cir.

2012), holds that the relief Debtors seek should be granted. Because McNeal is an
unpublished decision, however, it is not binding precedent pursuant to 11th Cir. R. 36-2
(2012). Nevertheless, the Court in McNeal concludes that controlling precedent on this
issue in the Eleventh Circuit is In re Folendore, 862 F. 2d 1537 (11th Cir. 1989),
notwithstanding the Supreme Court’s ruling after Folendore in Dewsnup v. Timm, 502
U.S. 410 (1992). As McNeal and Follendore provide a basis for the relief the Motion
seeks and Respondent has not opposed the Motion, it is hereby
       ORDERED that the Motion is granted: Respondent’s lien on the Property is

deemed void with respect to Debtors' interest in the Property and shall be extinguished
automatically, without further court order, upon entry of the Chapter 7 discharge in this
case. It is further
       ORDERED that in the event this case is dismissed, in accordance with 11 U.S.C.
§ 349 (b) (1) (C), Respondent’s lien shall not be affected by this Order; however, in the
event this case is converted to a case under another Chapter of the Bankruptcy Code, the
rights of Respondent with regard to its lien shall be governed by the provisions of the
Bankruptcy Code applicable in the converted case so that the lien of Respondent shall not
be affected by this Order.
                             [END OF DOCUMENT]

Prepared by:
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